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7                            UNITED STATES DISTRICT COURT
8                          SOUTHERN DISTRICT OF CALIFORNIA
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10   JASON WILD,                                        Case No.: 18cv2193, 15cr2771-AJB
11                                    Petitioner,
                                                        ORDER DENYING PETITIONER’S
12   v.                                                 MOTION FOR RECONSIDERATION
     UNITED STATES OF AMERICA,                          OF THE DENIAL OF HIS 28 U.S.C.
13
                                                        § 2255 PETITION
14                                  Respondent.
                                                        (Doc. No. 164)
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17         Before the Court is Petitioner Jason Wild’s (“Petitioner”) motion for reconsideration
18   of the Court’s Order denying his petition to vacate, set aside, or correct his sentence
19   pursuant to 28 U.S.C. § 2255 based on ineffective assistance of counsel. (Doc. No. 164.)
20   The background of this case is fully set forth in the Court’s Order denying Petitioner’s
21   § 2255 Motion, (Doc. No. 160), and therefore need not be repeated here. Upon full review
22   of the record and arguments and assertions presented by Petitioner, the Court DENIES the
23   motion for reconsideration.
24                                  I.   LEGAL STANDARD
25         A motion for reconsideration or relief from a judgment may be brought under either
26   Federal Rule of Civil Procedure 59(e) or Rule 60(b). Fuller v. M.G. Jewelry, 950 F. 2d
27   1437, 1442 (9th Cir. 1991) (citing Taylor v. Knapp, 871 F. 2d 803, 805 (9th Cir. 1989)).
28   Pursuant to Rule 59(e), a motion for reconsideration “must be filed no later than 28 days

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1    after the entry of the judgment” and may be granted if the district court “is presented with
2    newly discovered evidence, committed clear error, or if there is an intervening change in
3    the controlling law.” Wood v. Ryan, 759 F.3d 1117, 1121 (9th Cir. 2014) (internal quotation
4    marks and citations omitted).
5          Pursuant to Rule 60(b), a court may “relieve a party or its legal representative from
6    a final judgment, order, or proceeding” for enumerated reasons, including the catch-all
7    “any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(6). The Supreme Court,
8    however, made clear “that, like other Federal Rules of Civil Procedure, Rule 60(b) applies
9    in the habeas context ‘only to the extent that it is not inconsistent with applicable federal
10   statutory provisions and rules.’” Mitchell v. United States, 958 F.3d 775, 784 (9th Cir.
11   2020) (quoting Gonzalez v. Crosby, 545 U.S. 524, 529 (2005)). As such, “Rule 60(b) does
12   not apply to the extent it is inconsistent with the habeas rules’ limitations on second or
13   successive applications.” Id. Although Gonzalez was decided in the context of a § 2254
14   habeas petition, the Ninth Circuit held in United States v. Buenrostro, 638 F.3d 720, 722
15   (9th Cir. 2011), that the reasoning in Gonzalez applies equally to § 2255 motions filed by
16   federal prisoners. Mitchell, 958 F.3d at 784 n.6.
17                                        II.   DISCUSSION
18         In the instant motion for reconsideration, Petitioner argues that the Court erred: (1)
19   by failing to hold a hearing on his § 2255 petition and (2) by denying his petition based
20   exclusively on the declaration of the attorney he alleged to have rendered ineffective
21   assistance. (Id. at 1–3.) As an initial matter, the Court notes that Petitioner does not specify
22   whether he seeks reconsideration or relief from judgment under Rule 59(e) or Rule 60(b).
23   Even construing his motion liberally, however, he fails to articulate a basis sufficient to
24   warrant relief under either rule.
25         First, the Court finds that Petitioner’s motion is untimely for purposes of Rule 59(e)
26   reconsideration. The Court entered the Order denying Petitioner’s § 2255 petition on
27   January 8, 2020. (Doc. No. 160.) Petitioner did not file his motion for reconsideration until
28   February 24, 2020—well beyond 28 days of the Order. Fed. R. Civ. P. 59(e). Thus, it is

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1    untimely, and cannot be considered under Rule 59(e). See United States v. Martin, 226
2    F.3d 1042, 1047 n.7 (“[I]t makes sense to conclude that a motion for reconsideration of an
3    order finally resolving a § 2255 petition must meet the time limits set in Rule 59(e).”).
4            Second, the Court finds that to the extent that Petitioner seeks relief from judgment
5    under Rule 60(b), the Court lacks jurisdiction because the arguments in his motion are, in
6    essence, “attacking the federal court’s previous resolution of a claim on the merits,” thereby
7    turning it into a second or successive habeas motion. Mitchell, 958 F.3d at 785 (quoting
8    Gonzalez, 545 U.S. at 531). While “a motion asserting some defect in the integrity of a
9    habeas proceeding, such as a claim of fraud on the federal habeas court” would not
10   constitute a “claim,” id. at 785, Petitioner makes no such arguments in his motion. Instead,
11   Petitioner argues that the Court failed to hold a hearing on his petition; however, there is
12   no such requirement. “A judge may, in the judge’s discretion, decide a motion without oral
13   argument.” Civ. Local R. 7.1.d.1. Petitioner also argues that the Court erred in giving
14   weight to his prior attorney’s declaration; however, this argument is clearly an attack on
15   the Court’s previous resolution of his habeas on the merits. See Mitchell, 958 F.3d at 785.
16   And in any event, the record shows that the Court’s findings on his petition were based on
17   the totality of evidence, not solely on his prior attorney’s affidavit. 1 (See Doc. No. 160 at
18   4–5.) Thus, as Petitioner’s arguments amount to a second or successive habeas motion, and
19   there is no certificate of appealability for such motion, the Court must deny it. See Mitchell,
20   958 F.3d at 784 (“Rule 60(b) motion presenting a claim cannot proceed without
21   certification from the court of appeals; otherwise, ‘Rule 60(b) would impermissibly
22   circumvent’ the second or successive bar.”) (quoting Gonzalez, 545 U.S. at 531–32).
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       Contrary to Petitioner’s assertion, his prior counsel’s affidavit is admissible evidence upon which the
28   Court may rely because it is relevant and probative as to the issues raised in Petitioner’s ineffective
     assistance of counsel claims. Fed. R. Evid. 402

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1                                  III.   CONCLUSION
2         Accordingly, the Court DENIES Petitioner’s motion for reconsideration.
3    IT IS SO ORDERED.
4    Dated: November 9, 2020
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